           Case: 4:19-cv-01646-HEA Doc. #: 1-3 Filed: 06/06/19 Page: 1 of 41 PageID #: 12



                                                                                            Search for Cases by: Select Search Method...

Judicial Links   |   eFiling   |    Help      |    Contact Us   |   Print                                                                    Logon

                       19SL-CC01864 - RICHARD SADDLER V CARVANA, LLC (E-CASE)


                                   This information is provided as a service and is not considered an official court record.
                                                  Sort Date Entries:           Descending                 Display Options: All Entries
                                                                            Ascending


06/03/2019           Certificate of Service
                       Filed By: RICHARD SADDLER

05/28/2019           Notice of Hearing Filed
                       Filed By: RICHARD SADDLER
                     Memorandum Filed
                     MEMORANDUM IN SUPPORT OF MOTION FOR TEMPORARY RESTRAINING ORDER
                       Filed By: RICHARD SADDLER
                     Mot for Temp Restraining Order
                       Filed By: RICHARD SADDLER

05/24/2019           Memorandum Filed
                     Carvanas Memorandum in Opposition to Plaintiffs Motion for Temporary Restraining Order.
                       Filed By: WILLIAM ALLEN BRASHER
                       On Behalf Of: CARVANA, LLC
                     Motion Hearing Scheduled
                       Scheduled For: 06/18/2019; 10:30 AM ; STANLEY JAMES WALLACH; St Louis County
                     Hearing Continued/Rescheduled
                       Hearing Continued From: 05/24/2019; 9:00 AM Hearing
                     Order
                     PLAINTIFF'S MOTION FOR TRO CALLED AND ARGUED. COURT FINDS THAT DEFENDANT WAS
                     NOT GIVEN PROPER NOTICE OF THE HEARING IN DIV. 17, WHICH ISSUED THE TRO DATED ON
                     MAY 16, 2019 NOR WAS DEFENDANT SERVED WITH THE TRO. SO ORDERED: JUDGE STANLEY
                     WALLACH

05/23/2019           Entry of Appearance Filed
                     Entry of Appearance.
                        Filed By: WILLIAM ALLEN BRASHER
                        On Behalf Of: CARVANA, LLC

05/20/2019           Hearing Scheduled
                       Associated Entries: 05/24/2019 - Hearing Continued/Rescheduled
                       Scheduled For: 05/24/2019; 9:00 AM ; STANLEY JAMES WALLACH; St Louis County

05/16/2019           Notice of Hearing Filed
                       Filed By: RICHARD SADDLER
                                                                                                                                         C
05/13/2019           Receipt Filed
           Case: 4:19-cv-01646-HEA Doc. #: 1-3 Filed: 06/06/19 Page: 2 of 41 PageID #: 13
                   Filing:
                   PLTP'S SERVICE INSTRUCTIONS
                   Confid Filing Info Sheet Filed
                   Pet Filed in Circuit Ct
                   Judge Assigned
Case.net Version 5.14.0.11                          Return to Top of Page         Released 04/25/2019
Case: 4:19-cv-01646-HEA Doc. #: 1-3 Filed: 06/06/19 Page: 3 of 41 PageID #: 14



                 IN THE CIRCUIT COURT OF THE COUNTY OF ST. LOIDS
                                STATE OF MISSOURI


RICHARD SADDLER                         )

                 Plaintiff,
                                        )
                                        )
                                                       Cause No.    /15 L-CCO I           r6 Lf
                                        )
v.                                      )
                                        )
CARVANA, LLC                            )              Division:   /l..                FILED
                                        )
                 Defendant.             )
                                                                                          MAY 13 2019

                                             PETITION                                 JOAN M. GILMER
                                                                                   CIRCUIT CLERK, ST. LOUIS COUN'TY

Comes now, Plaintiff Richard Saddler (Mr. Saddler) against Defendants Carvana, LLC
(Carvana) alleges and avers as follows:
                                      NATURE OF CASE
  1. This case is an action for damages and other relief arising from a fraudulent sale of an
      automobile from Carvana, LLC to Mr. Saddler. Mr. Saddler signed an installment sales
      contract to purchase the car, however, the sales was void and fraudulent ab initio by
      operation oflaw, as Carvana, LLC failed to provide Mr. Saddler with a certificate of title
      in violation of RSMO 301.210.

                                              PARTIES
     2. Plaintiff Richard Saddler is a natural person and a resident of St. Louis County, Missouri.

     3. Defendant Carvana, LLC is a corporation licensed to do business in the State of Missouri,
        and whose principal business operation consists of retailing used cars online and also offer
        financing through a related party.


                                   JURISDITION AND VENUE
     4. This court has jurisdiction over this matter pursuant to Article V, Section 14 of the
        Missouri Constitution.

     5. Venue is proper in this Court, since the events giving rise to this case occurred at my
        residence, 413 Genoa Dr. Manchester, Missouri, in St. Louis County, Missouri.


                                   FACTUAL ALLEGATIONS
     6. Mr. Saddler was in the market for a used vehicle and utilized the Carvana's website to
        search and find a vehicle that fit his specifications.
Case: 4:19-cv-01646-HEA Doc. #: 1-3 Filed: 06/06/19 Page: 4 of 41 PageID #: 15



 7. He then applied for financing through Carvana's related party finance company and was
    approved to finance $26,489.02, which included the sales price of the vehicle, TAVT tax,
    license fee, vehicle protection and GAP coverage, plus interest rate of 12.64%.

 8. On or about September 21, 2018 Mr. Saddler was delivered a 2015 GMC Terrain, at his
    residence 413 Genoa Dr. Manchester Missouri. At the time of delivery Mr. Saddler
    received the automobile and signed final documents acknowledging and accepting
    delivery.

 9. Mr. Saddler also signed a retail installment contract, security agreement, Carvana care
    agreement, and credit reporting notice, odometer disclosure statement, GAP addendum to
    retail installment contract, and an arbitration agreement.

 10. Neither at the time ofthe sale on September 21, 2018, nor at any time since did Defendant
     provide Mr. Saddler with a title to the vehicle, as required by Missouri Law.

 11. Within approximately forty five days after the sale (before the temporary tags were set to
     expire) Mr. Saddler was forced to obtain an emissions inspection and odometer reading
     and email it to Carvana for Mr. Saddler to receive the title to the vehicle and the registered
     license plates.

 12. At the expense of Mr. Saddler he got emissions inspection and odometer reading
     completed multiple times. It was an expense that Carvana stated that they would take care
     of. Additionally, he emailed Carvana the passing emissions results on November 1, 2018
     at I 1:33am ofwhich was completed by his local GMC Bommarito Dealership. Carvana
     confirmed receipt of said email with the attached emissions results on November 1, 2018
     at 5:22pm.

 13. Mr. Saddler was later informed that the third party processing company was unable to
     process the required title and registration due to the fact that the email was a copy and
     were requesting the original emissions inspection and odometer reading issued by State of
     Missouri. The Dealer can only issue copies on their letter head. Not on State leterhead.

 14. Since September 2018, Mr. Saddler has made monthly payments of$527, totaling to date
     approximately $4,216, all of which have been payments towards a car he does not legally
     even own.

 15. In an email dated April24, 2019 Carvana threatens that if Mr. Saddler does not contact
     Carvana within five days then they "or we may have to retake it." Meaning my car ..

 16. In addition, Mr. Saddler has suffered additional damages due to this transaction, including
     being pulled over multiple times for driving without properly registered license plates.
     Which makes him fearful of his and his family's life in having to deal with a possible
     hostile Police Officer that have cause to pull him over due to Carvana's illegal business
     practices.
Case: 4:19-cv-01646-HEA Doc. #: 1-3 Filed: 06/06/19 Page: 5 of 41 PageID #: 16



   17. Mr. Saddler has also suffered substantial damages resulting from his loss oftime,
       inconvenience, annoyance, embarrassment, and other such damages, resulting from the
       void sale and subsequent failure to take any action to remedy it.

   18. The actions of the Defendants, as described herein, were outrageous because of the
       Defendant's evil motif or reckless indifference to Plaintiff's right and the rights of others
       such that the Plaintiff is entitled to an additional amount as punitive damages in a sum
       sufficient to punish Defendants and to deter Defendants and others from like conduct.


                                       COUNT I-FRAUD

COMES NOW Plaintiff and for Count I of his Petition against Defendants, states and alleges as
follows:

   19. Plaintiff incorporates herein all preceding paragraphs as though fully set forth herein.

   20. RSMO 301.210.4 declares that the sale of a motor vehicle without transfer of title is
       fraudulent.

   21. Defendant Carvana sold, or purported to sell, the vehicle to Mr. Saddler and did not
       transfer the title; therefore, the transaction constituted fraud as a matter of law.


   22. Due to the Defendant's sophistication in clear knowledge of the laws in the State of
       Missouri, the Defendant should not have asked Mr. Saddler to obtain the emissions
       inspection and odometer reading. Due to Mr. Saddler's lack of sophistication he was
       unaware of the rules and laws that surround buying and selling a car in the State of
       Missouri.

   23. Despite having long been on notice of this fraud, including via mail, phone calls and
       emails from Mr. Saddler, and the Attorney General of Missouri on multiple occasions.

WHEREFORE, Plaintiff prays for an award ofhis actual damages, punitive damages in amounts
that are fair and reasonable, for an order declaring the contract void and rescinding the
transaction, for the costs of this action, and for such other and further relief as this Court deems
just and proper.

  COUNT II VIOLATION OF THE MISSOURI MERCHANDISING PRACTICES ACT

COMES NOW Plaintiff and for Count II ofhis Petition against Defendants, states and alleges as
follows:

   24. Plaintiff incorporates herein all preceding paragraphs as though fully set forth herein.

   25. The Missouri Merchandising Practices Act, 407.010 et seq. prohibits unfair and deceptive
       acts and practices in the sale of goods and services of Missouri.
Case: 4:19-cv-01646-HEA Doc. #: 1-3 Filed: 06/06/19 Page: 6 of 41 PageID #: 17




  26. The sale or purported sale of the GMC by Carvana to Mr. Saddler was a sale for purposes
      of the MPA, and the sale was primarily for personal, family, or household purposes.

  27. In connection with the sales transaction, Defendant Carvana committed the following
      unfair or deceptive acts and practices:

           a. Sale of the motor vehicle without a certificate of title, which is a violation of
              RSMO 301.210., and was thus a per se unfair or deceptive act or practice.
           b. Selling Mr. Saddler a car that could not and did not pass Missouri state vehicle
              inspection at the time of the sale.
           c. Charging Mr. Saddler exorbitant fees for services of little or no value, including
              an extended warranty and GAP coverage.

  28. Defendant Carvana has further violated the MP A by refusing and continuing to refuse to
      tender a certificate of title to Mr. Saddler.

  29. Pursuant to RSMO. 407.025, this Court may award Mr. Saddler his actual damages,
      punitive damages, equitable relief, attorneys fees, and the costs of this action.

WHEREFORE, Plaintiff prays this Court declare the purported sale void and rescinded, award
Mr. Sadder his actual damages, punitive damages in amounts that are fair and reasonable, his
reasonable attorneys fees, and the costs of this action.




Richard Saddler
Pro se Plaintiff




                       ELIZABETH J. FISCHER
                       My Commission Expires
                           March 27, 2021
                            Sl Louis City
                       Commission #13407834
 Case: 4:19-cv-01646-HEA Doc. #: 1-3 Filed: 06/06/19 Page: 7 of 41 PageID #: 18



                                CERTIFICATE OF SERVICE

On this 13th day of May, 2019, a copy ofthe attached Motion were FedEx to Defendant and

hand deliver to the Clerk of Court, to the following addresses respectfully:

       Carvana, LLC
       1930 W Rio Salado Parkway
       Tempe, AZ 85281
and

       St. Louis County Clerk of Court
       105 South Central Avenue
       Clayton, MO 63105
Case: 4:19-cv-01646-HEA Doc. #: 1-3 Filed: 06/06/19 Page: 8 of 41 PageID #: 19
Case: 4:19-cv-01646-HEA Doc. #: 1-3 Filed: 06/06/19 Page: 9 of 41 PageID #: 20
Case: 4:19-cv-01646-HEA Doc. #: 1-3 Filed: 06/06/19 Page: 10 of 41 PageID #: 21
Case: 4:19-cv-01646-HEA Doc. #: 1-3 Filed: 06/06/19 Page: 11 of 41 PageID #: 22
                                                                                              Electronically Filed - St Louis County - May 23, 2019 - 04:26 PM
Case: 4:19-cv-01646-HEA Doc. #: 1-3 Filed: 06/06/19 Page: 12 of 41 PageID #: 23




                    IN THE CIRCUIT COURT OF THE COUNTY OF ST. LOUIS
                                   STATE OF MISSOURI

RICHARD SADDLER,                         )
                                         )
       Plaintiff,                        )
                                         )    Cause No. 19SL-CC01864
vs.                                      )
                                         )    Division: 12
CARVANA, LLC,                            )
                                         )
       Defendant.                        )

                                 ENTRY OF APPEARANCE

       COMES NOW William A. Brasher of Boyle Brasher LLC and enters his appearance on

behalf of Carvana, LLC in this matter.




                                                 Respectfully submitted,

                                                 BOYLE BRASHER LLC

                                                 /s/ William A. Brasher
                                                 William A. Brasher, #30155
                                                 1010 Market Street, Ste. 950
                                                 St. Louis, Missouri 63104
                                                 P: (314) 621-7700
                                                 F: (314) 621-1088
                                                 wbrasher@boylebrasher.com

                                                 Attorneys for Defendant
                                                 Carvana, LLC




19SL-CC01864                                                                    Page 1 of 2
                                                                                                        Electronically Filed - St Louis County - May 23, 2019 - 04:26 PM
Case: 4:19-cv-01646-HEA Doc. #: 1-3 Filed: 06/06/19 Page: 13 of 41 PageID #: 24




                                 CERTIFICATE OF SERVICE


      I hereby certify that on May 23, 2019 the foregoing was electronically filed with the
County of St. Louis Clerk of the Court by using the Missouri Electronic Document Management
System, which will send a notice of electronic filing to all parties. This constitutes service of the
document(s) for purposes of the Missouri Court Rules of Civil Procedures.




                                               BY:    /s/ William A. Brasher




19SL-CC01864                                                                              Page 2 of 2
Case: 4:19-cv-01646-HEA Doc. #: 1-3 Filed: 06/06/19 Page: 14 of 41 PageID #: 25
Case: 4:19-cv-01646-HEA Doc. #: 1-3 Filed: 06/06/19 Page: 15 of 41 PageID #: 26
                                                                                                                      Electronically Filed - St Louis County - May 24, 2019 - 03:57 PM
Case: 4:19-cv-01646-HEA Doc. #: 1-3 Filed: 06/06/19 Page: 16 of 41 PageID #: 27




                      IN THE CIRCUIT COURT OF THE COUNTY OF ST. LOUIS
                                     STATE OF MISSOURI

RICHARD SADDLER,                                     )
                                                     )
         Plaintiff,                                  )
                                                     )        Cause No. 19SL-CC01864
vs.                                                  )
                                                     )        Division: 12
CARYANA, LLC,                                        )
                                                     )
         Defendant.                                  )

  CARVANA, LLC'S MEMORANDUM IN OPPOSITION TO PLAINTIFF'S MOTION
                FOR TEMPORARY RESTRAINING ORDER

         COMES NOW Carvana, LLC ("Carvana"), by and through its counsel, Boyle Brasher

LLC, and for its Memorandum in Opposition to Plaintiff's Motion for Temporary Restring Order

states as follows:

         Plaintiff's request for a Temporary Restraining Order (TRO) arises out of a retail

installment contract for the purchase of a vehicle from Carvana and Carvana's efforts to issue a

title to Plaintiff. Despite repeated requests to Plaintiff to provide it with the original emissions

test report which is required under Missouri law to register and issue a title for the vehicle,

Plaintiff has refused to provide the original. 1 Upon receipt of the original emissions test, a title

can be provided to plaintiff. It is the failure of Plaintiff to provide the original of the emissions

test report that has delayed the issuance of the title. Indeed, Carvana provided Plaintiff with

three (3) pre-paid FedEx return envelopes to return the original emissions test report so that the

vehicle could be properly registered and titled in this State as well as a rental car for him to

utilize during this process. Plaintiff failed to return the original emissions test report, as he was

required to do. 2 Because of the failure to provide the original of the emissions test report,


' Plaintiff insisted on performing the emissions testing procedure himself when the vehicle was delivered to him in
September of2018.

19SL-CCO 1864                                                                                        Page 1 of5
                                                                                                          Electronically Filed - St Louis County - May 24, 2019 - 03:57 PM
    Case: 4:19-cv-01646-HEA Doc. #: 1-3 Filed: 06/06/19 Page: 17 of 41 PageID #: 28




    Carvana advised Plaintiff that if he did not provide the requested documents to return the vehicle

    and if the vehicle was not returned "Carvana may have to retake the vehicle." Plaintiffs motion

    seeks to preclude Carvana from "retaking Plaintiff's vehicle."

           Plaintiffs Motion for Temporary Restraining Order should be denied. Plaintiff has not

alleged any facts in his unverified Motion for Temporary Restraining Order nor in his verified

Petition (Exhibit 1) which he refers to in his request for a TRO (Exhibit 2) which entitle him to a

TRO.

           A TRO, like an injunction is an extraordinary and harsh remedy and should not be

employed where there is an adequate remedy at law. Goerlitz v City of Maryville, 333 S.W.3d

450, 455 (Mo. bane 2011). To obtain a TRO Plaintiff must demonstrate that (1) he has no

adequate remedy at law; and (2) irreparable harm will result if the TRO is not granted. City of

Greenwood v. Marietta Materials, Inc., 311 S.W.3d 258, 265 (Mo. App. W.D. 2010). A TRO

will not be granted where there is a remedy at law. Eberle v. State, 779 S.W.2d 302, 304 (Mo.

App. B.D. 1989).

           Plaintiff's Petition clearly demonstrates he has adequate remedy at law should Carvana

elect to reacquire the vehicle purchased from it as it is entitled to do under the retail installment

contract. Plaintiff has alleged damage claims in Count I, Fraud, as follows:

                  Wherefore Plaintiff prays for an award of his actual damages,
                  punitive damages in amounts that are fair and reasonable, for an
                  order declaring the contract void and rescinding the transaction, for
                  the costs of this action, and for such other and further relief as this
                  Court deems just and proper.




2
  Carvana subsequently cancelled its complementary rental car when it became evident that Plaintiff was
undertaking no steps to comply with his obligations under the retail installment contract.

19SL-CC01864                                                                                Page 2 of5
                                                                                                                       Electronically Filed - St Louis County - May 24, 2019 - 03:57 PM
    Case: 4:19-cv-01646-HEA Doc. #: 1-3 Filed: 06/06/19 Page: 18 of 41 PageID #: 29




         In Count II, Violation of the Missouri Merchandising Practices Act, Plaintiff alleges the

Plaintiff is entitled to " ... actual damages, punitive damages, equitable relief, attorneys [sic] fees,

and costs ... ". Plaintiff has a1leged damage c1aims in Count II, as follows:

                  Wherefore Plaintiff prays this Court dec1are the purported sale
                  void and rescinded, award Mr. Saddler his actual damages,
                  punitive damages in amounts that are fair and reasonable, his
                  reasonable attorneys [sic] fees, and the costs of this action.

         In both Counts I and II the equitable relief which Plaintiff seeks is an "order dec1aring the

contract void and rescinding the transaction for the sale of the vehic1e," in Count I. In Count II,

Plaintiff requests that "the purported sale be void and rescinded ... ".

         Additionally, Plaintiffs request for a TRO is inconsistent with his request to rescind the

contract of sale for the vehicle.

         Plaintiffs draft TRO Order (Exhibit 3) actually seeks to compel Carvana LLC to:

                  harass or offer threats to take any property belonging to Mr.
                  Saddler, not limited to the 2015 GMC Terrain Denali the
                  Defendant sold to Saddler.

         Despite the apparent misstatement in the draft Order, Plaintiffs request to rescind the

sales agreement requested in the Petition he purports to incorporate in his unverified request for a

TRO further confirms he has an adequate remedy at law and will suffer no irreparable harm by

denial ofhis TRO.

         Plaintiffs Petition which seeks monetary damages and request to rescind the sales

agreement is to preclude Defendant from reacquiring the vehicle is inconsistent with his request

for a TRO. Additionally, Carvana has no intention of reacquiring the vehicle provided Plaintiff

cures any default in his monthly payments 3 and provides the documentation necessary to issue

title to the vehicle to Plaintiff.

3
 Plaintiff is, in fact, in default under the retail installment contract as he failed to make his monthly payment of
$527.00 for the month of May 2019.

19SL-CCO 1864                                                                                         Page 3 of 5
                                                                                                         Electronically Filed - St Louis County - May 24, 2019 - 03:57 PM
Case: 4:19-cv-01646-HEA Doc. #: 1-3 Filed: 06/06/19 Page: 19 of 41 PageID #: 30




           Finally, in order to obtain a TRO, Plaintiff must establish a reasonable probability of

success on the merits of his claim. Plaintiffs reliance on R.S.Mo. § 310.210.4 in Count I and

Count II provides no support for Plaintiffs claims. The unambiguous language of this statute

makes clear that it only applies to the "sale or transfer of ownership of a motor vehicle . . . for

which a certificate of ownership has been issued . .. " § 310.210.1 R.S.Mo. The vehicle sold to

Plaintiff was previously registered and titled in New York, not Missouri.              Therefore, no

certificate of ownership exists, and Section 310.210 does not apply to these circumstances and

provides Plaintiff with no avenue for relief. Furthermore, in order to obtain a certificate of

ownership, which is necessary to register the vehicle in this State (and therefore to title it in this

state), an applicant must submit an emissions test report pursuant to R.S.Mo. § 301.190.10. Put

simply, Plaintiff has no reasonable probability - no probability whatsoever - of success on the

merits of his claim, and his request for a TRO should be denied. State ex rei. Dir. of Revenue,

State of Mo. v. Gabbert, 825 S.W.2d 838 (Mo. bane 1996).

          WHEREFORE, Defendant respectfully request Plaintiffs Motion for Temporary

Restraining Order be denied and that it be granted such other relief the Court deems just and

proper.




19SL-CCO 1864                                                                             Page 4 of5
                                                                                                        Electronically Filed - St Louis County - May 24, 2019 - 03:57 PM
Case: 4:19-cv-01646-HEA Doc. #: 1-3 Filed: 06/06/19 Page: 20 of 41 PageID #: 31




                                                           Respectfully submitted,

                                                           BOYLE BRASHER LLC

                                                           Is/ William A. Brasher
                                                           William A. Brasher, #30 155
                                                           1010 Market Street, Ste. 950
                                                           St. Louis, Missouri 63104
                                                           P: (314) 621-7700
                                                           F: (314) 621-1088
                                                           wbrasher@boylebrasher.com

                                                           Attorneys for Defendant
                                                           Carvana, LLC




                                 CERTIFICATE OF SERVICE
      I hereby certify that on May 24, 2019 the foregoing was electronically filed with the
County of St. Louis Clerk of the Court by using the Missouri Electronic Document Management
System, which will send a notice of electronic filing to all parties. This constitutes service of the
document(s) for purposes of the Missouri Court Rules of Civil Procedures.




                                               BY:     Is/ William A. Brasher




19SL-CCO 1864                                                                             Page 5 of 5
                                                                                                                     Electronically Filed - St Louis County - May 24, 2019 - 03:57 PM
Case: 4:19-cv-01646-HEA Doc. #: 1-3 Filed: 06/06/19 Page: 21 of 41 PageID #: 32
                                                                                                        EXHIBIT

                                                                                                   I      1
                                                                                                        --~




                 IN THE CIRCUIT COURT OF THE COUNTY OF ST. LOUIS
                                STATE OF MISSOURI


RICHARD SADDLER                         )
                                        )              CauseNo.     /1SL-CCO ( f6C{
                 Plaintiff,             )
                                        )
v.                                      )
                                        )
CARVANA, LLC                            )               Division:   /l..              FILED
                                        )
                 Defendant.             )
                                                                                          MAY 13 2019

                                             PETITION                                 JOAN M. GILMER
                                                                                   CIRCUIT CLERK, ST. LOUIS COUNlY

Comes now, Plaintiff Richard Saddler (Mr. Saddler) against Defendants Carvana, LLC
(Carvana) alleges and avers as follows:
                                      NATURE OF CASE
  1. This case is an action for damages and other relief arising from a fraudulent sale of an
      automobile from Carvana, LLC to Mr. Saddler. Mr. Saddler signed an installment sales
      contract to purchase the car, however, the sales was void and fraudulent ab initio by
      operation of law, as Carvana, LLC failed to provide Mr. Saddler with a certificate of title
      in violation of RSMO 301.210.

                                              PARTIES
     2. Plaintiff Richard Saddler is a natural person and a resident of St. Louis County, Missouri.

     3. Defendant Carvana, LLC is a corporation licensed to do business in the State of Missouri,
        and whose principal business operation consists of retailing used cars online and also offer
        financing through a related party.


                                   JURISDITION AND VENUE
     4. This court has jurisdiction over this matter pursuant to Article V, Section 14 of the
        Missouri Constitution.

     5. Venue is proper in this Court, since the events giving rise to this case occurred at my
        residence, 413 Genoa Dr. Manchester, Missouri, in St. Louis County, Missouri.


                                   FACTUAL ALLEGATIONS
     6. Mr. Saddler was in the market for a used vehicle and utilized the Carvana's website to
        search and find a vehicle that fit his specifications.
                                                                                                       Electronically Filed - St Louis County - May 24, 2019 - 03:57 PM
Case: 4:19-cv-01646-HEA Doc. #: 1-3 Filed: 06/06/19 Page: 22 of 41 PageID #: 33



  7. He then applied for financing through Carvana's related party finance company and was
     approved to finance $26,489.02, which included the sales price of the vehicle, TAVT tax,
     license fee, vehicle protection and GAP coverage, plus interest rate of 12.64%.

  8. On or about September 2I, 2018 Mr. Saddler was delivered a 2015 GMC Terrain, at his
     residence 413 Genoa Dr. Manchester Missouri. At the time of delivery Mr. Saddler
     received the automobile and signed final documents acknowledging and accepting
     delivery.

  9. Mr. Saddler also signed a retail installment contract, security agreement, Carvana care
     agreement, and credit reporting notice, odometer disclosure statement, GAP addendum to
     retail installment contract, and an arbitration agreement.

  10. Neither at the time of the sale on September 21, 2018, nor at any time since did Defendant
      provide Mr. Saddler with a title to the vehicle, as required by Missouri Law.

  11. Within approximately forty five days after the sale (before the temporary tags were set to
      expire) Mr. Saddler was forced to obtain an emissions inspection and odometer reading
      and email it to Carvana for Mr. Saddler to receive the title to the vehicle and the registered
      license plates.

  12. At the expense of Mr. Saddler he got emissions inspection and odometer reading
      completed multiple times. It was an expense that Carvana stated that they would take care
      of. Additionally, he emailed Carvana the passing emissions results on November I, 2018
      at 11 :33am of which was completed by his local GMC Bommarito Dealership. Carvana
      confirmed receipt of said email with the attached emissions results on November I, 2018
      at 5:22pm.

  13. Mr. Saddler was later informed that the third party processing company was unable to
      process the required title and registration due to the fact that the email was a copy and
      were requesting the original emissions inspection and odometer reading issued by State of
      Missouri. The Dealer can only issue copies on their letter head. Not on State leterhead.

  I4. Since September 20I8, Mr. Saddler has made monthly payments of$527, totaling to date
      approximately $4,216, all ofwhich have been payments towards a car he does not legally
      even own.

  15. In an email dated April24, 2019 Carvana threatens that if Mr. Saddler does not contact
      Carvana within five days then they "or we may have to retake it." Meaning my car ..

  16. In addition, Mr. Saddler has suffered additional damages due to this transaction, including
      being pulled over multiple times for driving without properly registered license plates.
      Which makes him fearful of his and his family's life in having to deal with a possible
      hostile Police Officer that have cause to pull him over due to Carvana's illegal business
      practices.
                                                                                                       Electronically Filed - St Louis County - May 24, 2019 - 03:57 PM
Case: 4:19-cv-01646-HEA Doc. #: 1-3 Filed: 06/06/19 Page: 23 of 41 PageID #: 34



   17. Mr. Saddler has also suffered substantial damages resulting from his loss of time,
       inconvenience, annoyance, embarrassment, and other such damages, resulting from the
       void sale and subsequent failure to take any action to remedy it.

   18. The actions of the Defendants, as described herein, were outrageous because of the
       Defendant's evil motif or reckless indifference to Plaintiff's right and the rights of others
       such that the Plaintiff is entitled to an additional amount as punitive damages in a sum
       sufficient to punish Defendants and to deter Defendants and others from like conduct.


                                       COUNT I-FRAUD

COMES NOW Plaintiff and for Count I of his Petition against Defendants, states and alleges as
follows:

   19. Plaintiff incorporates herein all preceding paragraphs as though fully set forth herein.

   20. RSMO 301.210.4 declares that the sale of a motor vehicle without transfer of title is
       fraudulent.

   21. Defendant Carvana sold, or purported to sell, the vehicle to Mr. Saddler and did not
       transfer the title; therefore, the transaction constituted fraud as a matter of law.


   22. Due to the Defendant's sophistication in clear knowledge of the laws in the State of
       Missouri, the Defendant should not have asked Mr. Saddler to obtain the emissions
       inspection and odometer reading. Due to Mr. Saddler's lack of sophistication he was
       unaware of the rules and laws that surround buying and selling a car in the State of
       Missouri.

   23. Despite having long been on notice of this fraud, including via mail, phone calls and
       emails from Mr. Saddler, and the Attorney General of Missouri on multiple occasions.

WHEREFORE, Plaintiff prays for an award of his actual damages, punitive damages in amounts
that are fair and reasonable, for an order declaring the contract void and rescinding the
transaction, for the costs of this action, and for such other and further relief as this Court deems
just and proper.

  COUNT II VIOLATION OF THE MISSOURI MERCHANDISING PRACTICES ACT

COMES NOW Plaintiff and for Count II of his Petition against Defendants, states and alleges as
follows:

   24. Plaintiff incorporates herein all preceding paragraphs as though fully set forth herein.

   25. The Missouri Merchandising Practices Act, 407.010 et seq. prohibits unfair and deceptive
       acts and practices in the sale of goods and services of Missouri.
                                                                                                   Electronically Filed - St Louis County - May 24, 2019 - 03:57 PM
Case: 4:19-cv-01646-HEA Doc. #: 1-3 Filed: 06/06/19 Page: 24 of 41 PageID #: 35




  26. The sale or purported sale of the GMC by Carvana to Mr. Saddler was a sale for purposes
      of the MPA, and the sale was primarily for personal, family, or household purposes.

  27. In connection with the sales transaction, Defendant Carvana committed the following
      unfair or deceptive acts and practices:

           a. Sale of the motor vehicle without a certificate of title, which is a violation of
              RSMO 301.210., and was thus a per se unfair or deceptive act or practice.
           b. Selling Mr. Saddler a car that could not and did not pass Missouri state vehicle
              inspection at the time of the sale.
           c. Charging Mr. Saddler exorbitant fees for services of little or no value, including
              an extended warranty and GAP coverage.

  28. Defendant Carvana has further violated the MPA by refusing and continuing to refuse to
      tender a certificate of title to Mr. Saddler.

  29. Pursuant to RSMO. 407.025, this Court may award Mr. Saddler his actual damages,
      punitive damages, equitable relief, attorneys fees, and the costs of this action.

WHEREFORE, Plaintiff prays this Court declare the purported sale void and rescinded, award
Mr. Sadder his actual damages, punitive damages in amounts that are fair and reasonable, his
reasonable attorneys fees, and the costs of this action.




Richard Saddler
Pro se Plaintiff




                      ELIZABETH J. FISCHER
                      My Commission Expires
                          March 27, 2021
                           St Louis City
                      Commission #13407834
                                                                                           Electronically Filed - St Louis County - May 24, 2019 - 03:57 PM
Case: 4:19-cv-01646-HEA Doc. #: 1-3 Filed: 06/06/19 Page: 25 of 41 PageID #: 36



                                 CERTIFICATE OF SERVICE

On this 13th day of May, 2019, a copy of the attached Motion were FedEx to Defendant and

hand deliver to the Clerk of Court, to the following addresses respectfully:

       Carvana, LLC
       1930 W Rio Salado Parkway
       Tempe, AZ 85281
and

       St. Louis County Clerk of Court
       105 South Central Avenue
       Clayton, MO 63105
                                                                                                                 Electronically Filed - St Louis County - May 24, 2019 - 03:57 PM
Case: 4:19-cv-01646-HEA Doc. #: 1-3 Filed: 06/06/19 Page: 26 of 41 PageID #: 37
                                                                                                       EXHIBIT

                                                                                                   j     2

                IN THE CIRCUIT COURT OF THE COUNTY OF ST. LOUIS
                               STATE OF MISSOUIU


  RICHARD SADDLER                        )
                                        )
                 Plaintiff,             )
                                        )                Cause No. I   '1 SL - c. c 0 I r; 0 c.(
  v.                                    )

  CARVANA,LLC                           )
                                        )                Division: J'J--
                 Defendant.             )


                    MOTION FOR TEMPORARY RESTRAININ(; ORDER

 Comes now. PlaintitfRichard Saddler against Defendant Carvana. LLC (Carvana) and or any of
 its affiliates alleges and avers as follows:

 Plaintiff Richard Saddler, (Saddler) moves this Court, pursuant to Rule 92.02 of the
 Missouri Supreme Court Rules, for an Order temporarily enjoining Defendant Carvana, LLC and
 or its affiliates ("Defendant") in connection with a threatening email to take Saddler's car
 because oftheir decision not to follow the rules here in Missouri as an Automobile Dealer.
 Carvana has had almost 9months to deliver Saddler the proper titling paperwork so Saddler may
 register and licenses the car he purchased from Carvana in September of 2018.

 Specifically, Saddler moves this Court for a temporary restraining order which compels
 Defendant Carvana, LLC or any of its atllliates from:

             a) Reirain from taking Saddler's 2015 GMC Terrain Denali without courts
                permission.

 In support of its Motion, Saddler relics upon and incorporates by reterence herein the allegations
 and arguments set forth in (a) Saddler's Verified Petition and (b) the Memorandum in Support of
 Saddler's Motion for a Temporary Restraining Order.

       WHEREFORE, for the reasons set forth in this Motion, the related Memorandum in
 Support, and Verified Petition, Saddler respectfully requests that this Court grant its Motion for a
 Temporary Restraining Order and enter Saddler's proposed Order, which is attached hereto as
 Exhibit
                                     Respectfully submitted,

                                             N-- (,'
                                             Richard Saddler
                                             Pro Se Plaintiff
                                                                                           Electronically Filed - St Louis County - May 24, 2019 - 03:57 PM
Case: 4:19-cv-01646-HEA Doc. #: 1-3 Filed: 06/06/19 Page: 27 of 41 PageID #: 38




                                  CERTIFICATE OF SERVICE

 On this 13th day ofMay, 2019, a copy of the attached Motion were FedEx to Defendant and

 hand deliver to the Clerk of Court, to the following addresses respectfully:

        Carvana, LLC
        1930 W Rio Salado Parkway
        Tempe, AZ 85281
 and

        St. Louis County Clerk of Court
        105 South Central A venue
        Clayton, MO 63105
                                                                                                           Electronically Filed - St Louis County - May 24, 2019 - 03:57 PM
Case: 4:19-cv-01646-HEA Doc. #: 1-3 Filed: 06/06/19 Page: 28 of 41 PageID #: 39
                                                                                                 EXHIBIT

                                                                                           t       3

               IN THE CIRCUIT COURT OF THE COUNTY OF ST. LOUIS
                              STATE OF MISSOURI


 RICHARD SADDLER                      )
                                                                                     'i>~tf
                                      )             Cause No.    l c,sL-c.c..JJI
                                                                   1
               Plaintiff,             )
                                      )
 v.                                   )
                                      )
 CARVANA, LLC                         )              Division:   JL
                                      )
                Defendant.            )


                            TEMPORARY RESTRAINING ORDER

 This matter comes before the Court on the motion for temporary restraining order of
 Plaintiff Saddler against Defendant Cm-vana, LLC. Based upon the argument of Plaintiff and the
 evidence adduced, the Court is ofthe opinion that such injunction should be granted.

 It is therefore ORDERED, ADJUDGED and DECREED that Defendant, and all others in
 active concert with Carvana, are hereby compelled to directly or indirectly:

      1) Harass or threating to take any property belonging to Mr. Saddler, not limited to the
         2015 GMC Terrain Denali the defendant sold to Saddler.

 IT IS FURTHER ORDERED that any violation of this Order will su~ject Defendant to
 Sanctions.

 IT IS FURTHER ORDERED that bond is set at $500.00

 IT IS FURTHER ORDERED that this Order shall expire in fifteen (15) days of its entry,
 unless further extended by the Court.

 IT IS FURTHER ORDERED that the Court shall hold a hearing on Plaintiffs' motion/petition on
 May 24, 2019 at 9am.

                                             By:                 - - - - - - - - - ------
Case: 4:19-cv-01646-HEA Doc. #: 1-3 Filed: 06/06/19 Page: 29 of 41 PageID #: 40
Case: 4:19-cv-01646-HEA Doc. #: 1-3 Filed: 06/06/19 Page: 30 of 41 PageID #: 41
Case: 4:19-cv-01646-HEA Doc. #: 1-3 Filed: 06/06/19 Page: 31 of 41 PageID #: 42
Case: 4:19-cv-01646-HEA Doc. #: 1-3 Filed: 06/06/19 Page: 32 of 41 PageID #: 43
Case: 4:19-cv-01646-HEA Doc. #: 1-3 Filed: 06/06/19 Page: 33 of 41 PageID #: 44
Case: 4:19-cv-01646-HEA Doc. #: 1-3 Filed: 06/06/19 Page: 34 of 41 PageID #: 45
Case: 4:19-cv-01646-HEA Doc. #: 1-3 Filed: 06/06/19 Page: 35 of 41 PageID #: 46
Case: 4:19-cv-01646-HEA Doc. #: 1-3 Filed: 06/06/19 Page: 36 of 41 PageID #: 47
Case: 4:19-cv-01646-HEA Doc. #: 1-3 Filed: 06/06/19 Page: 37 of 41 PageID #: 48
Case: 4:19-cv-01646-HEA Doc. #: 1-3 Filed: 06/06/19 Page: 38 of 41 PageID #: 49
Case: 4:19-cv-01646-HEA Doc. #: 1-3 Filed: 06/06/19 Page: 39 of 41 PageID #: 50
Case: 4:19-cv-01646-HEA Doc. #: 1-3 Filed: 06/06/19 Page: 40 of 41 PageID #: 51
Case: 4:19-cv-01646-HEA Doc. #: 1-3 Filed: 06/06/19 Page: 41 of 41 PageID #: 52
